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 5   Attorneys for Defendant ERIK F. AGUILAR LARA
 6
 7                           UNITED STATES DISTRICT COURT
 8                          EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                         Case No. 2:09-cr-00358-07 WBS
11
                          Plaintiff,
12                                                     STIPULATION AND [PROPOSED]
     vs.                                               ORDER TO EXCLUDE TIME
13
     ERIK F. AGUILAR LARA,
14
                          Defendant.
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     ________________________________/
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17
            The parties hereby stipulate that the status conference in this case be continued
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     from Monday, April 9, 2012, at 9:30 a.m. to Tuesday, May 29, 2012, at 9:30 a.m. The
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     parties stipulate that the time between April 9, 2012, and May 29, 2012, should be
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     excluded from the calculation of time under the Speedy Trial Act. The parties stipulate
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     that the ends of justice are served by the Court excluding such time, so that counsel for
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     the defendant may have reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-
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     4. Specifically, counsel for defendant Lara is currently in a criminal trial in Contra Costa
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     County that is expected to last through Friday, April 13, 2012, and has a double-homicide
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     trial expected to last six weeks beginning on Monday, April 16, 2012, which cannot be
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     continued. Therefore, to ensure continuity of counsel for Defendant Lara, the parties
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     have stipulated to continue the status conference in this case. The parties stipulate and

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 1   agree that the interests of justice served by granting this continuance outweigh the best
 2   interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161 (h)(7)(A).
 3          The parties further request that this matter be taken off the April 9, 2012 calendar
 4   before Judge William B. Shubb and be rescheduled for May 29, 2012, at 9:30 a.m. before
 5   Judge Shubb.
 6
 7                                             Respectfully submitted
 8                                             LAW OFFICES OF TIM A. PORI
 9
     Date: April 5, 2012                       /s/ Tim A. Pori
10                                             TIM A. PORI
                                               Attorney for Defendant ERIK LARA
11
12   Date: April 5, 2012                       /s/ Jason Hitt (Authorized 4/5/2012)
                                               JASON HITT
13                                             Assistant United States Attorney
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15
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                                              ORDER
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            IT IS HEREBY ORDERED that the Status Conference in the above-entitled
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     matter is continued to May 29, 2012, at 9:30 a.m. before the Honorable William B. Shubb
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     and that the time between April 9, 2012, and May 29, 2012, be excluded from the
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     calculation of time under the Speedy Trial Act.
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     Dated: April 5, 2012
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